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 1                                                                 The Honorable Ricardo S. Martinez
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 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7                                     AT SEATTLE
 8   STATE OF WASHINGTON,                                    NO. 2:20-cv-01070-RSM
 9                              Plaintiff,                   STIPULATION AND
                                                             PROPOSED ORDER
10          v.
11   UNITED STATES DEPARTMENT OF
     HOMELAND SECURITY;
12   IMMIGRATION AND CUSTOMS
     ENFORCEMENT; CHAD F. WOLF, in his
13   official capacity as Acting Secretary of the
     U.S. Department of Homeland Security;
14   and MATTHEW ALBENCE, in his official
     capacity as Acting Director of U.S.
15   Customs and Immigration Enforcement,
16                              Defendants.
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18          The State of Washington and the Defendants in the above-captioned case, by and through

19   their attorneys of record, hereby stipulate as follows.

20               1. Defendants have agreed to rescind, on a nationwide basis, the July 6, 2020

21                  Broadcast Message and the July 7, 2020 FAQ at issue in the above-captioned

22                  case, and have also agreed to rescind their implementation. This will preclude

23                  enforcement of the July 6, 2020 Broadcast Message and July 7, 2020 FAQ.

24                  Defendants have agreed to return to the March 9, 2020 and March 13, 2020 policy

25                  published at https://www.ice.gov/coronavirus (last visited July 15, 2020).

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       STIPULATION AND PROPOSED                          1
       ORDER
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 1          2. Defendants’ rescission of the July 6, 2020 Broadcast Message and July 7, 2020
 2              FAQ, and agreement to return to the status quo of the March 9 and March 13
 3              policies, moots the State’s motion for temporary restraining order (Dkt. # 3), and
 4              the State hereby withdraws this motion without prejudice at this time.
 5       IT IS SO STIPULATED.
 6       DATED this 16th day of July, 2020.
 7                                              ROBERT W. FERGUSON
 8                                              Attorney General

 9
                                                /s/ Lauryn K. Fraas
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                                               Attorney for Defendants
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 1                                    ORDER [PROPOSED]
 2           Pursuant to stipulation, IT IS SO ORDERED.
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     DATE:
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                                                THE HONORABLE RICARDO S. MARTINEZ
 6                                              UNITED STATES DISTRICT JUDGE
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      STIPULATION AND PROPOSED                     3
      ORDER
      NO. 2:20-cv-01070-RSM
